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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 JOHN CONNORS,                                   )    C.A. No. 2:21-cv-1511
                                                 )
                Plaintiff,                       )
                                                 )    JURY TRIAL DEMANDED
        v.                                       )
                                                 )
 OFFICER JOHN DOE 1, OFFICER JOHN                )
 DOE 2, OFFICER JOHN DOE 3, CITY OF              )
 PITTSBURGH                                      )
                                                 )
                Defendants.                      )

                              COMPLAINT IN CIVIL ACTION

I.     INTRODUCTION

       1.      This action is brought on behalf of the plaintiff, John Connors arising from

an incident that occurred on May 30, 2020, when the defendant officers, individually, and

acting in concert with one another, falsely arrested the plaintiff, and filed false criminal

charges against him, including bogus and serious misdemeanor charges. The arrest and

the criminal charges were not supported by probable cause, and all of the baseless

criminal charges brought against Mr. Connors were dismissed. The acts of the individual

defendants were carried out in accordance with the custom, policies, practices, or

procedures of the defendant City of Pittsburgh. As a result of the defendants’ conduct,

the plaintiff suffered personal injury, damage to his reputation, emotional distress,

embarrassment, and humiliation. Plaintiff is entitled to recover damages for such injuries,

and for the violation of his first, fourth and fourteenth amendment constitutional rights as

made actionable pursuant to the Civil Rights Act of 1871, as amended, 42 U.S.C.§ 1983;
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II.    JURISDICTION

       2.      This action is brought pursuant to the Civil Rights Act of 1871 as amended

42 U.S.C. §1983. This Court has jurisdiction over these claims under 28 U.S.C. §1331,

28 U.S.C. §1343(a)(3)and (4)

III.   PARTIES

       3.      Plaintiff John Connors is an adult individual residing in McKees Rocks,

Stowe Township, County of Allegheny, Commonwealth Pennsylvania;

       4.      Defendants Officer John Doe 1, Officer John Doe 2, and Officer John Doe

3 (hereinafter referred to as Doe 1, 2 or 3) are City of Pittsburgh police officers, who are

believed to reside in the City of Pittsburgh, Allegheny County Commonwealth

Pennsylvania, who were acting under color of state law, and in accordance with the

practices, policies and/or procedures of the City of Pittsburgh Bureau of Police when such

defendants violated plaintiff's first and fourth amendment constitutional rights to be free

from retaliation for protected speech and to be free from unreasonable seizures, the use

of excessive force, and/or the filing of false and/or malicious criminal prosecutions;

       5.      Defendant City of Pittsburgh is a City of the second class located within the

Allegheny County, Commonwealth of Pennsylvania, with a principal place of business

located at 414 Grant Street, Pittsburgh, PA 15219. The violations of the plaintiff's First

and Fourth Amendment constitutional rights resulted from and/or were proximately

caused by this defendant's custom, policies or practices which John Doe defendants

followed in violating plaintiff's constitutional rights.
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IV.    FACTUAL ALLEGATIONS

       6.      On May 30, 2020, plaintiff was non-violently and peacefully video recording

the police response to citizens’ protests of the murder of George Floyd and the deaths of

innumerable other African Americans at the hands of the police, these protests taking

place in the downtown area of the City of Pittsburgh;

       7.      As plaintiff video recorded the police response to the protests, he observed

the police engage in abusive tactics, including the unnecessary use of flashbang

grenades, chemical agents, and the firing of projectiles at peaceful protesters. Plaintiff

verbally protested the police misconduct that he observed;

       8.      Plaintiff was wearing a T-shirt which on the front stated: "Blue Lives

Murder". He wore a backpack containing camera equipment and he was holding a camera

in his hands. He was obviously unarmed and posed no threat of harm to himself or others,

including any police officers;

       9.      After several hours of video recording, plaintiff, at approximately 5 PM was

video-recording the police in and about the "Wood Street T-Station" where he was

confronted by several police officers, including City of Pittsburgh SWAT team officers,

dressed in riot/tactical gear, armed with chemical agents, rifles, and other use of force

weapons and ammunition;

       10.     As plaintiff asked one of the officers for clarification of an announced

dispersal route, a SWAT team officer--looking directly at plaintiff's T-shirt--threw a canister

containing a chemical agent at the plaintiff--striking him in the leg, and then fired a

projectile at plaintiff striking him on the right hip;
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       11.     The force used by the SWAT team officer (identified herein as Doe 1) was

unnecessary and excessive, as plaintiff was peacefully video recording the police and

posed no threat of harm to himself, others, or any police officers, including the SWAT

team officer who used force;

       12.     After plaintiff was struck by the canister, and the projectile, Doe 1 and two

other City of Pittsburgh SWAT Team police officers (Officers Doe 2 & 3) assaulted the

plaintiff, throwing him to the ground and forcibly handcuffing him;

       13.     Plaintiff was then taken into custody and transported to the Allegheny

County Jail, where he remained incarcerated for three days when he was then finally able

to post bail and was released;

       14.     In order to justify the retaliation and the unnecessary and excessive use of

force, false criminal charges were filed against the plaintiff, including misdemeanor failure

to disperse and disorderly conduct charges;

       15.     The charges filed against the plaintiff were based upon false accusations,

as the individually-named defendants did not have reason to believe and/or probable

cause to believe that such criminal offenses had been committed by the plaintiff;

       16.     The affidavit of probable cause filed in support of the false criminal charges

was ostensibly completed by a City of Pittsburgh police officer who had no knowledge of

the facts, but instead, used a standard form affidavit created by the City of Pittsburgh

Bureau of Police to justify the wholesale arrest of peaceful protesters without regard to

the specific facts allegedly supporting the criminal charges

       17.     In the affidavit of probable cause, it was falsely alleged that plaintiff failed to

"disperse" from a location at the intersection of Smithfield Street and the Boulevard of the
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Allies. Plaintiff had not been at that location during the entire time that he video recorded

the police and was not at that location when he was arrested;

       18.     The individual defendant officers knew that the City's policy authorizing an

officer to file an affidavit of probable cause containing allegations--unrelated to the citizen

accused of a crime based upon that affidavit, allowed them to arrest citizens without

having to account for such arrest by swearing under oath to facts supporting the arrest or

the force used;

       19.     The false criminal charges filed against the plaintiff were dismissed;

       20.     As a direct result of the defendants’ conduct, plaintiff suffered physical

injuries, emotional distress, embarrassment, humiliation and damage to his reputation;

       21.     As a direct result of the defendants’ conduct, plaintiff has and/or may require

medical care and treatment and incur medical expenses for any such care and/or

treatment;

V.     CAUSES OF ACTION

       A.      Connors v. Officer Doe 1
               Fourth Amendment Use of Excessive Force

       22.     Plaintiff incorporates herein by reference paragraphs 1 through 21 as if

herein fully set forth;

       23.     Defendant Officer Doe 1’s use of force against the plaintiff, including

throwing a canister containing a chemical agent at the plaintiff, and shooting and striking

him with a projectile, was unreasonable and excessive as plaintiff was not, and had not,

engaged in any conduct justifying the use of such force;
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       WHEREFORE, plaintiff requests judgment in his favor against this defendant for

both compensatory and punitive damages, an award of attorney's fees and costs and

such other relief as the Court may deem just and equitable under the circumstances;


       B.      Connors v. Officers Doe 1, 2, and 3
               Fourth Amendment False Arrest

       24.     Plaintiff incorporates herein by reference paragraphs 1 through 23 as if

herein fully set forth;

       25.     Defendants Officers Doe 1, 2, and 3 arrested the plaintiff without reason to

believe and/or suspect that he had committed a criminal offense justifying any such arrest;

       WHEREFORE, plaintiff requests judgment against these defendants in his favor

for both compensatory and punitive damages, an award of attorney's fees and costs, and

such other relief as the Court may deem just and equitable under the circumstances;


       C.      Connors v. Officers Doe 1, 2, and 3
               Fourth amendment malicious prosecution

       26.     Plaintiff incorporates herein by reference paragraphs 1 through 25 as if

herein fully set forth;

       27.     Defendant Officers Doe 1, 2, and 3 filed and/or participated in the filing of

criminal charges against the plaintiff which were not supported by probable cause and

were based upon false accusations made by these defendants that plaintiff had engaged

in criminal activity, including false allegations that he refused to disburse and/or engaged

in disorderly conduct;
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       28.     The defendants filed an/or participated in the filing of false criminal charges

against the plaintiff with malice and/or for reasons other than bringing the plaintiff to

justice;

       WHEREFORE, plaintiff requests judgment against these defendants in his favor

for both compensatory and punitive damages, an award of attorney's fees and costs, and

such other relief as the Court may deem just and equitable under the circumstances;

       D.      Connors v. Officers Doe 1, 2, and 3
               First Amendment Retaliation

       29.     Plaintiff incorporates herein by reference paragraphs 1 through 28 as if

herein fully set forth;

       30.     The defendants’ use of excessive force (as to Officer Doe 1 only), false

arrest, and malicious prosecution were motivated by an animus towards the plaintiff and

were otherwise in retaliation for his first amendment protected speech, including video

recording the police, objecting to police abuse, and the message on his T-shirt which read

"Blue Lives Murder";


       E.      Connors v. City of Pittsburgh
               First Amendment (retaliation for protected First Amendment activity),
               Fourth Amendment (use of force, false arrest, malicious prosecution,
               Fourteenth Amendment (failure to train, discipline and/or supervise)

       31.     Plaintiff incorporates herein by reference paragraphs 1 through 30 as if

herein fully set forth;

       32.     The defendant City of Pittsburgh, through its Bureau of Police and Office of

the Solicitor has a practice and/or policy of acquiescing in police misconduct including

failing and/or refusing to discipline officers adjudged to have violated citizens’

constitutional rights; promoting to supervisory ranks officers who have been adjudged to
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have violated citizen's constitutional rights; participating in the defense of and otherwise

defending City of Pittsburgh police officers accused of violating citizens’ constitutional

rights, when the City knows, has reason to believe, and/or has otherwise concluded that

the officer's conduct was abusive and/or rose to the level of a crime, was carried out with

malice, and/or rose to the level of willful misconduct;

       33.     The defendant City of Pittsburgh has a custom, policy or practice of using

standard form affidavits to justify the arrest and filing of criminal charges against citizens

engaged in peaceful protests where the officer swearing to the truth of the allegations set

forth in the affidavit in reality has no knowledge of the facts supporting the charges and

where the officers who initiated the arrests are accordingly not required to swear to the

truth of the allegations supporting the citizen's arrest, the filing of charges against that

citizen, or the use of any force in carrying out the arrest;

       34.     The defendant City of Pittsburgh was on notice, and was otherwise aware,

that its officers responding to peaceful citizen protests of police misconduct used

unnecessary and excessive force in response to such protests, filed criminal charges for

which there was no reason to believe or suspect that a criminal offense had been

committed, and retaliated against citizens on account of protected first amendment

activity, and despite such knowledge failed to protect citizens from the violation of their

constitutional rights and/or otherwise acquiesced in such unconstitutional behavior;

       35.     The defendant City of Pittsburgh was on notice, and/or was otherwise aware

that there would be citizen protests of police misconduct and abuse following the murder

of George Floyd and the deaths of innumerable other African-Americans at the hands of

the police, and despite such notice and/or knowledge failed to properly train and/or
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supervise its police officers in responding to such protests, including failing to train and/or

supervise its officers on when and what force to use when responding to citizens protests,

failing to train and/or supervise its officers on how to disperse citizen protesters, in failing

to train and/or supervise its police officers in exercising restraint when confronted by

citizens protesting police abuse;

       36.     The defendant City of Pittsburgh’s custom policies and practices as

hereinbefore described were the moving force behind the violation of the plaintiff’s first,

fourth, and fourteenth amendment constitutional rights.

       WHEREFORE,         plaintiff   requests   judgment     against   this   defendant     for

compensatory damages, an award of costs and attorney’s fees and such other relief as

the Court deems just and equitable under the circumstances.

                                            Respectfully submitted,

                                            /s/ Timothy P. O’Brien
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